Case 2:25-cv-00197-JCZ-DPC   Document 227-18   Filed 06/17/25   Page 1 of 2




         EXHIBIT
Case 2:25-cv-00197-JCZ-DPC    Document 227-18    Filed 06/17/25   Page 2 of 2
              7:22-f                              •ii



         < Details         Inventory Record                PDF
          N/A


          Railroad Use C
          N/A


          Railroad Use D
          N/A


          State Use A
          N/A


          State Use B
          N/A


          State Use C
          N/A


          State Use D
          N/A


          Emergency Notification Telephone No.
          8667773388



          Railroad Contact (Telephone No.)
          5043470792



          State Contact (Telephone No.)
          2253791543




         Part il: Railroad Information


         Part III: Highway or Pathway Traffic Control Device
         Information



         Part IV: Physical Characteristics


         Part V: Public Highway Information
